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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :
JOHN ZIPPO,                                               :
                                                          :
                                        Plaintiff,        :
                                                          :               23-CV-865 (VSB)
                      -against-                           :
                                                          :                    ORDER
CITY OF NEW YORK; CAPTAIN SMART; :
CAPTAIN DAVIS; CAPTAIN JEFFRIES;                          :
CAPTAIN MATHEUS; CO                                       :
WASHINGTON; CO VALDEZ; CO LEE;                            :
CO TITTLE; CO VASQUEZ; JOHN DOES :
1–6,                                                      :
                                                          :
                                        Defendants. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        Plaintiff John Zippo moves to substitute a party pursuant to Fed. R. Civ. P. 25(a). (Doc.

19.) Defendant City of New York do not oppose this request. (Doc. 20.) Having reviewed

Plaintiff’s papers, I find that substitution is warranted. Accordingly, Plaintiff’s request is

GRANTED. Lauren DeNike, as administrator of the Estate of John Zippo, is hereby substituted

as plaintiff for John Zippo. The Clerk of Court is respectfully directed to amend the case caption

accordingly and to close the motion at Doc. 19.

SO ORDERED.

Dated: August 10, 2023
       New York, New York
                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
